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          EXHIBIT A
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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF PENNSYLVANIA
                              PITTSBURGH DIVISION


WENDELL H. STONE COMPANY, INC.
d/b/a STONE & COMPANY, individually and
on behalf of all others similarly situated,
                                                       Case No. 2:18-cv-01135-AJS
                        Plaintiff,

v.

PC SHIELD INC., an Oklahoma corporation,

                        Defendant.

 AFFIDAVIT IN SUPPORT OF PLAINTIFF’S REQUEST FOR ENTRY OF DEFAULT

       I, Patrick H. Peluso, declare under penalty of perjury that the following facts are true and

correct to the best of my information and belief:

       1.       I am one of the attorneys for Plaintiff Wendell H. Stone, Inc. (“Plaintiff” or

“Stone”) and the alleged Class in the above captioned matter. I am over the age of 18 and can

competently testify to the matters set forth herein if called upon to do so.

       2.       Plaintiff’s Complaint was filed on August 27, 2018. (Dkt. 1.)

       3.       The Summons was issued on August 27, 2018.

       4.       A copy of the Summons and Complaint were served on Defendant PC Shield, Inc.

(“Defendant” or “PC Shield”) on September 22, 2018, placing Defendant’s deadline to Answer

or otherwise respond on October 15, 2018. (See Dkt. 6.)

       5.       To date, Defendant has not filed an Answer, entered an appearance, or contacted

Plaintiff’s counsel.

       6.       Plaintiff, therefore, requests that the Court enter default against Defendant.

       Further affiant sayeth not.



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       I declare under penalty of perjury that the foregoing is true and correct and that this

declaration was executed in the State of Colorado, on October 29, 2018.



                                                     Respectfully,

                                                     /s/ Patrick H. Peluso
                                                     One of Plaintiff’s Attorneys




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